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                          UNITED STATES DISTRICT COURT
                            DISTRICT ON CONNECTICUT

UNITED STATES                             :
                                          :      3:18-CR-00095(SRU)
v.                                        :
                                          :
YEHUDI MANZANO                            :      October 1, 2018

         MOTION TO PERMIT COUNSEL TO ARGUE JURY NULLIFICATION


       The instant case began as a state-court prosecution of a claim of statutory rape.

The defendant is an adult; at the time of the sexual contact giving rise to the

prosecution, the complaining witness was fifteen years old at the time of the sexual

contact. But for her age, the contact was consensual.

       In the course of the investigation of the underlying state-court case, investigators

became aware that the defendant had filmed a sexual encounter between himself and

the minor on his mobile telephone. There is no claim that he ever distributed this film.

But for the fact that his telephone was seized pursuant to a warrant, no one would ever

have had access to the film.

       State-court prosecutors alerted federal authorities to the existence of the film. Mr.

Manzano now stands charged with a federal offense carrying a mandatory minimum

prison sentence of 15 years, and a maximum sentence of 30 years. He is not charged

with distributing child pornography. He is charged with producing child pornography.

       The defendant seeks permission to make the jury aware of the penalty, and to

argue that Government’s application of the law to the particular facts of this case is an

obscene miscarriage of justice. While the Government may well be able to prove the

elements of the offense, the conduct at issue here, while perhaps not innocent, is in no

way so sinister as to warrant such a penalty. Indeed, an argument could be made that
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the filming of consensual conduct without the intention to distribute is not the sort of

conduct Congress sought to proscribe.

       No case explicitly bars counsel from arguing jury nullification, although the

practice is almost routinely and uniformly proscribed. The last time, and only time, the

United States Supreme Court ruled on the topic, the Court did not explicitly prohibit such

arguments. In Sparf v. United States, 156 U.S. 51 (1895), the Court held in a 5-4

decision that a trial judge has no responsibility to inform the jury that it has the right to

nullify the law. Put another way, a defendant has no right to a jury instruction that jurors

are free to disregard the law. In dicta, Sparf noted that it is the jury’s duty to follow the

law. While it is the duty of a jury to apply the law as given to the facts of a case; the

case does not address whether counsel can ask jurors conscientiously to disregard the

law when the Government insists that it be applied in a manifestly unjust manner.

        The defendant here contends that his Sixth Amendment right to present a

defense requires that, given the particular facts and circumstances of this case, his

counsel be permitted both to inform the jury of the consequences of a conviction, and to

argue to the jury that the law as applied in the particular facts of this case is not simply

unwise, but ludicrous, unjust, and an fundamentally unfair. Should there be a conviction,

he will raise his cruel and unusual punishment claim arising under the Eighth

Amendment.

                                                   THE DEFENDANT

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                                      CERTIFICATION

         This is to certify that on October 1, 2018, a copy of the foregoing was filed
electronically. Notice of this filing will be sent, via e-mail, to all parties by operation of
the Court’s electronic filing system, and the undersigned did cause to be sent, via First
Class U.S. mail, postage prepaid, a copy of the foregoing to all counsel and pro se
parties that do not have access to the Court’s electronic filing system and to whom the
court directs the undersigned to send a hard copy via mail. Parties may access this
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                                                               /s/ NORMAN A. PATTIS /s
